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                               UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF PENNSYLVANIA

 JOANNE KLEINER LEVIN as legal
 guardian of JOY BARBARA LEVIN,                         Case No. 2:18-cv-00741-RK
 individually and on behalf of all others
 similarly situated,


                          Plaintiff,


                        v.


 CRESCENT HOTELS & RESORTS, LLC,


                         Defendant.

                                 STIPULATION OF DISMISSAL

       COMES NOW Plaintiff, Joanne Kleiner Levin, and Defendant, Crescent Hotels & Resorts,

LLC, and pursuant to Fed. R. Civ. P. 41(a)(1)(A) hereby stipulate that:

       1.        This action shall be DISMISSED, with prejudice; and

       2.        No motion for class certification has been filed and no class has been certified in

this action; therefore, class notice and court approval of this dismissal are not required under the

Federal Rules.

 Dated: October 18, 2018                            Respectfully submitted,

 /s/ R. Bruce Carlson                               /s/ Joseph J. Lynett
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